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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:04CR158
                              )
          v.                  )
                              )
JOSHUA THORPE,                )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s letter

(Filing No. 177), which the Court will construe as a motion for

extension of time to file an appeal.          Accordingly,

           IT IS ORDERED:

           1) Defendant’s letter/motion for extension of time to

file an appeal is granted.

           2) The clerk of the court shall furnish defendant with

a form notice of appeal; and defendant shall have until January

26, 2007, to file his notice of appeal.

           DATED this 3rd day of January, 2007.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
